Case 1:20-cv-23287-DPG Document 58 Entered on FLSD Docket 12/20/2020 Page 1 of 5




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    R odri ueg                                                                                    K U.S.()lsT. cTl
                                                                                             S. D.OF
    a/k/aYarlàTeresaLanda,                                                                           FLA.- MIAMI
    Alfredo Ram on Forns,et.aj.

            Plaintiff,



            Defendants,
    lm oerialBrandsPlac .corooracion habanos,s.A .
    W PP PlC .Younq & Re -  lcam LLC.
    And BCW LLC'    ,a/lc/a Burson Côhn & W olf
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            ln accordance w ith Federal Rules of Civil Procedure Rule 4, and/or 28 U .S.C. 1
    1608(a)(3)or(b)(3)(B),theClerk certifiesthatonthis17th,day ofDecember,2020,(Amended
    Summonsand complaint)havebeenmailedvialnternationalServiceto:
                                                                  Corporacion Habanos,S.A.
                                                                  Centro de N egocios M iram ar,Edificio
                                                   Defendant'
                                                            .     H abana,3ra.Planta,A venida 3ra.
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            DO N E at the Federal Courthouse Square,M iam i,Florida,this 17tb day of D ecem ber,
    2020.
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                                                            D eputy Clerk
            U.S.DistrictJudge,AlICounselofrecord
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   c/o Rodriguez Tramont& Nunez,P.A.                                           CORPORACIUN HABANOS,S.
                                                                                                    A.
   Clerk ofCourt                                                               CORPORACIUN HABANOS,S.
                                                                                                    A.
   Southern DistrictofFlorida                                                  Centro de Negocios M iramar
   400 North M iam iAvenue                                                     Edificio Habana,3ra Planta
   8th Floor# 8N09                                                             Avenida 3ra.entre 78 y 80,C .P.:11300
   33132-1801 M iami Florida                                                   10400 HAVANA CITY
   United States ofAm erica                                                    Cuba
   + 13053502300                                                               +5378363708

   gw@ rtgn-law.com




    Shipm ent D etails                                                          International Inform ation
   ShipmentDate:                              2O2O-12-18                        Declared Value:
   W aybillNum ber:                           8488361711                        Duties&taxes acct:
   Service Type:                              EXPRESS W ORLDW I
                                                              DE                Dutiable Status:                    N on-D utiabIe
   Packaging Type:                            My Ow n Package                   Estim ated DeIdate:                 M onday,04 Jan,2021
   NumberofPieces:                            1                                 Prom o Code:
   TotalW eight:                              0.50lbs
   D im ensionaI:                             O.631bs
   Chargeable:                                1.00Ibs
   Insured Amount:
   Terms ofTrade:

    B iIIing Inform atio n
    Paym entType:                             DHL AccountNum ber
    Billing Account:                          849548312
    Duties&taxes acct:
    Charge Breakdown:                         66.53 USD                         Speci
                                                                                    alServices:            FuelSurcharge/Direct
                                                                                                           Signature/Emergency
                                                                                                           Situation

    ChargeisestimateduntilDHLreweigh and maynotincludeaIIfeesandsurcharges.Shipmentspaidbycreditcard:lfthe finalbilledamountexceedstheoriginal
    pre-authorized amount,youwillreceiveasecondchargefortheadditionalamount.Both theoriginalandadditionalchargeswillreferencethesameshipment
    num ber.

    Reference Inform ation
    Reference'.                               Partagas
    Pickup reference nr:

   Description of C ontents
   Letter,correspondence




   2019 @ Deutsche PostAG -AlIrights reserved
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          GENEM LSANCTIONS AND EXPORT CONTROLS W ARM NTY AND INDEM NITY LEU ER

          ShipmentDetails/W aybillNum ber:

          ThisSanctionsW arrantyandIndemnityLetter(thistil-etter'')detailstheunderstandingbetween
                                             (''shipper'') and DHL Express (d6DHL'') and clarities the
          representationsand warranties Shipperprovidesto DHL with respectto the potentialimpactofeconom ic
          sanctionsand exportcontrollawsand regulations upon the Shipment.Capitalized terms used herein are
          defined in Annex A to thisLetter.

          SH IPPER HEREBY REPRESENTS AND W ARRANTS TO DPDHL THAT:
          SHIPPER'SREPRESENTATIONSAND W ARRANTIESW ITH RESPECTTO SHIPPER

          ShipperisnotaDeniedParty,orinanywayidentified,eitherspecifically orbyreference,on any applicable
          SanctionsListissuedpursuanttoaSanctionts)issuedbyaSanctionsAuthority.Shipperisneitherowned
          norcontrolled by a Denied Party.

          SHIPPER'SREPRESENTATIONSAND W ARRANTIESW ITH RESPECTTO THECONSIGNEEISIAND END-USERIS)
          Shipperhasconducted effective due diligenceon the Shipment'srecipients,any known end-usersand a1l
          consijnees.TothebestofShipper'sknowledge,tenderingtheshipmentstoDHLanditsdeliverybyDHL
          toitslntendeddestinationsand/orend-userswillnot:1)Constituteabreachorviolationofanyapplicable
          Sanction;or2)ExposeDHL toanySanctionorpenalty imposedbyany SanctionsAuthority.
          SHIPPER'SREPRESENTATIONSAND W ARRANTIESW ITH RESPECTTO THE SHIPMENT

          TheShipperwarrantsthat:
          (a)theshipmentsdoesnotcontainany RestrictedItems,or,alternatively,
          (b)iftheShipmentsdoescontainRestrictedltems,anyandal1licenses,approvalsandpermitsthatmay
              berequired underapplicable lawsand regulationshavebeen obtained from theproperauthorities,
              and acopy ofeach such license,approvalorpermitareprovided to DHL priorto oratthetime of
              tendering the shipmentsto DHL;
          (c)theShipperisthetrueshipperandexportcroftheShipments;and
          (d)thedescription,value,consignee,andotherassociatedinformationanddocumentsrelatedtothe
          Shipmentsaretrue and accurate.
          The shipperfurtherwarrantsthat:
          a) Theshipmentisincompliancewithapplicableexportcontrolandsanctionslawsandregulations
             (içExportLaws'')andthattheshipmentdoesnotcontain
                  1) U.s.-origingoods,technologyorsoltware,or
                  2) non-u.s.-origingoodsthatcontainmorethan25% Uvs.-origincontent(asdefinedin 15
                      C.F.R.734.4).
              Iftheshipmentcontainseither 1or2 above,theShippershallprovide DHL with acopy ofthe license
              orotherapprovalthatauthorizestheshipmentto theconsignee.
           SHIPPER'SGRANT OFINDEMNITY AND RIGHTSTO DHL

          Indemnit y:TheShippershallirrevocablyandunconditionallyholdDHL(includingitsemployees,servants,
          agentsssubcontractors,representatives,insurersand re-însurers)fully harmlessfrom and keep DPDHL
          (including itsemployees,servants,agents,subcontractors,representatives,insurersandre-insurers)fully
          indemnitied againstallandany losses,damages,tinesandexpenseswhatsoeverwhichitmay sufferarising
          orresulting from anybreach orviolationbytheShipper(includingitsemployees,servants,agents,sub-
          contractorsandrepresentatives)ofany:
          (a)ApplicableSanctiontsll,or

          tForshipmentsSubjectToU.S.Jurisdi
          1                                   ction(DoesNotApplyWhereComplianceWithU,S.Sancti     onsWouldBeProhibitedBy
          Law orBythenationalgovernmentpoli  cy):
          (a)theShipmentsdoesnotcontainanyunli  censedornon-exemptUnitedStates-originitemsoranyotheritemsthataresubjectto
               U.S.exportcontrols(e,
                                   g.,goodsproducedoutsidetheUnitedStatescontainingbyvalueatleast10% UScontentor
               technol
                     ogyor25% whereapplicablel;

          A/ersion3.0                                                                                       21May 2019
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          GENEM LM NCTIONSAND EXPORT CONTROLS W ARRANTYAND INDEM NITY LEU ER


          (b)therepresentationsandwarrantiescontainedherein,includingnon-declarationorillegal,inaccurate
          and/orinadequatedeclaration by theShipperin respectoftheshipmentorfrom any othercausein
          connectionwiththeShipment,ortheexercisebyDHL ofanyandal1ofitsrightsassetoutbelow (çGrant
          to DHL'').
          Compl
              ywithDHLActions;TheShippershallcomplywithanyanda1lsjecialhandlingproceduresthat
          DHL may requîreand implem entfortheshipmentsto comply with aSanctlon.

          GranttoD/-
                   /1:ShipperherebygrantsDHL theright(butnottheobligation)atDHL'Sdiscretiontoconduct
          anyora1lofthefollowing:
          (a)nottoclearorprocessanyshipmentthatisRestrictedbyapplîcablelaws;
          (b)inspectand/orscreentheShipmentsinaccordancewithapplicablelaws;
          (c)returntheshipments;
          (d)abandonorblocktheshipmentswithoutanyfurtherliabilitytotheShipperasrequiredbyapplicable
          law;
          (e)discloseinformationrelatedtotheshipmenttoagovernmentauthority inaccordancewithapplicable
          laws;
          (9 releasetheshipmentstoagovernmentauthorityinaccordancewithapplicablelaws;or
              storetheshipmentsduringtheexaminationgeriodandthendisgoseofordestroytheshipments(al1at
              theShipper'scosts)withoutanyfurtherliabllitytotheShipperlfitbecomesapparentthatanyofthe
              representationsorwarrantiesin thisLetterare untrue,inaccurateorincomplete,orifDHL reasonably
              believesthatsuch action isnecessaryto ensureitsown com pliancewith applicable lawsand
              regulations.DHL willtakepromptand reasonablemeasuresto providethe Shipperwithreascmable
              advance noticepriorto taking any suchaction and offerthe Shipperareasonableopportunity to
              providethenecessary clarificationstothecompliancemattersatissue.

          SHIPPER ACKNOWLEDGEMENT
          DHL acceptsthe shipments in fullrelianceupon the Shipper'srepresentations,warranties and agreement
          contained in thisLetter.The termsofthisLettershallprevailoverany cont licting termsand conditionsof
          generalcarriage orcontract.By signing below the Shipperacknowledgesand agreesto a11provisionsof
          thisLetter.
          Signature'
                   .                                               Date:
          PrintName:                                               Title:
          Company Name:
                                                       ANNEX A:DEFINITIONS
          DeniedPartvïh personorentity whichisincluded onan applicableSanctionsList.NotethattheIistscan includeincomplete
          names.addressesandotherdetails,ForthepurposesofthisLetter,theterm ''DeniedParty''doesnotincludeentitiesthatappearonthe
          SectoralSanctionsldentificationList(the'SSIList')maintainedbytheEU,OFACoracomparableIistofpersonssubjectto
          sectoralsanctionsmaintainedbytheEU US etc.
          LetterLThisSanctionsW arrantyand Indemnity Letter.
          Restricted ffe'
                        - :Any item thatiseitherpositively included on any listofgoodstheimporfexport/transitofwhich isprohibited
          byapplicableSanctionts)OR wherepositivelynotauthori
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          SanctionlslLAny applicable economic or financialsanction regulation,trade embargo orexportcontrol1aw orregulation
          implemented,administeredorenforcedby aSanctionsAuthority.
          Sanctionls)AutltoritvLAninternationalinstitutionorapplicablenationalorregionalgovernment,orsubdivisionsthereofthat
          possesstheauthorityto enactand implementapplicable economicand/orfinancialsanctionsregulationsorothereconomic
          controlsuponindividuals,organizations,corporations.politicalentitiesandotherpartiescollectively,thesearedeemedthe
           'SanctionsAulhoritiesf'
                                 .Sanctionts)Li
                                              stsLA listofsanctionedentilies(i.c.DeniedParties),generallyconsistingofnamesof
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                                       esandassociateddetails(addresses,I
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          SanctionedCountrlesïThosecountries,regionsorterri
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          includingbutnotIimitedtothoseadministeredbytheUN/EU/U,S/canadiAustraliisingapore.
          shipmentïForanindividualshipment,theshipmentreferencedbyAirWaybillNumberorotherDHLshipmentreferenceatthe
          st'tl'tofthisLetter.Fora BlanketLetter,a11shipmentsbytheShipperafterthedatethisLetterwa.sexecuted.


          (b)theShipper:wheretheshipmentistenderedtoDHL outsidetheUni    tedStatesandftsterritorfes hasnotandwillnotreceiveor
               remitanyUni tedStatesDoll
                                       ar(USD)paymentsforthegoodsbeingshipped,whetherdirectlyfrom therecipientorconsignee,
               orindirectl
                         yfrom anyotherperson(unlessspecificallypermittedbylicenseorexempti onl;and
          (c)theShipper,wheretheshipmentsistenderedtoDHLoutsidetheUni     tedStatesanditsterritorieshasnotandwillnotpayDHL
               fortheShipmcntsorforanyotherservicesinUSD.
